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           Subdivision               State               Signed With Permission                   Name of At Least One Law Firm of Record       Jurisdiction    Docket Number
Stuart City                     FL           /s/ The Law Offices of Travis R. Walker, P.A.   The Law Offices of Travis R. Walker, P.A.         NDOH          1:20‐op‐45124‐DAP
City of Mishawaka               IN           /s/ Coffman Law Firm                            Coffman Law Firm                                  NDOH          1:21‐op‐45080‐DAP
City of Hillview                KY           /s/ Coffman Law Firm                            Coffman Law Firm                                  NDOH          1:21‐op‐45080‐DAP
City of Mt. Washington          KY           /s/ Coffman Law Firm                            Coffman Law Firm                                  NDOH          1:21‐op‐45080‐DAP
City of Shepherdsville          KY           /s/ Coffman Law Firm                            Coffman Law Firm                                  NDOH          1:21‐op‐45080‐DAP
Morganfield City                KY           /s/ Leger & Shaw                                Leger & Shaw                                      NDOH          1:20‐op‐45167‐DAP

Warfield City                   KY           /s/ Bossier & Associates, PLLC                  Bossier & Associates, PLLC                        NDOH         1:19‐op‐45787‐DAP
Iberville Parish                LA           /s/ Pendley, Baudin & Coffin, LLP               Pendley, Baudin & Coffin, LLP                     NDOH         1:19‐op‐45140‐DAP
St. James Parish School Board   LA           /s/ Leger & Shaw                                Leger & Shaw                                      NDOH         1:21‐op‐45034‐DAP
St. Mary Parish School Board    LA           /s/ Irpino Avin & Hawkins                       Irpino Avin & Hawkins                             NDOH         1:18‐op‐46232‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Acushnet Town                   MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45676‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Agawam Town City                MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45792‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Amesbury Town City              MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45678‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Aquinnah Town                   MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐46091‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Athol Town                      MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:19‐op‐45058‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Auburn Town                     MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45688‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Ayer Town                       MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:19‐op‐45570‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Barnstable Town City            MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45862‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Belchertown Town                MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45905‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Beverly City                    MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:19‐op‐45219‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Billerica Town                  MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45560‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Brewster Town                   MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45556‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Bridgewater Town                MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45754‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Brockton City                   MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐46089‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Brookline Town                  MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:19‐op‐45062‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Carver Town                     MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45691‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Charlton Town                   MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45689‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Chelmsford Town                 MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45952‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Chelsea City                    MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45693‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Clarksburg Town                 MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45882‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Clinton Town                    MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:19‐op‐46072‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Danvers Town                    MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45760‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Dedham Town                     MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:19‐op‐45039‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Dennis Town                     MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:19‐op‐45124‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Douglas Town                    MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45706‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
Dudley Town                     MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45707‐DAP
                                             /s/ Levin, Papantonio, Rafferty, Proctor,       Levin, Papantonio, Rafferty, Proctor, Buchanan,
East Bridgewater Town           MA           Buchanan, O'Brien, Barr and Mougey, P.A.        O'Brien, Barr and Mougey, P.A.                    NDOH         1:18‐op‐45721‐DAP
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                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Eastham Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45864‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Easthampton Town City    MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45336‐DAP
Easton Town              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45920‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Everett City             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45596‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Fairhaven Town           MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45060‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Falmouth Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46095‐DAP

Fitchburg City           MA    /s/ Napoli Shkolnik, PLLC                   Napoli Shkolnik, PLLC                             NDOH   1:19‐op‐45030‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Freetown Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45705‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Georgetown Town          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45879‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Grafton Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45753‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Greenfield Town City     MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45017‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Hanson Town              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45704‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Holliston Town           MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45874‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Holyoke City             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45694‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Hopedale Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45708‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Hull Town                MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐46172‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Kingston Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46090‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lakeville Town           MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45743‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Leicester Town           MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45709‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Leominster City          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45710‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Leverett Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45836‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Longmeadow Town          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46097‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lowell City              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45514‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Ludlow Town              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45906‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lunenburg Town           MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46156‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lynn City                MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45789‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Malden City              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45487‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Marblehead Town          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45791‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Marshfield Town          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45752‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Mashpee Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45755‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Mattapoisett Town        MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45890‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Melrose City             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45951‐DAP
                               /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Methuen Town City        MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45106‐DAP
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                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Middleborough Town        MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46200‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Milford Town              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45783‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Millbury Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46123‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Millis Town               MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:20‐op‐45275‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Nantucket Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45703‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
New Bedford City          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45569‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Newburyport City          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45837‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
North Adams City          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45702‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
North Andover Town        MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46159‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
North Attleborough Town   MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45744‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
North Reading Town        MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45856‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Northampton City          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45337‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Northbridge Town          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45711‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Norton Town               MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45787‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Norwell Town              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45815‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Norwood Town              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45061‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Orange Town               MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45070‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Oxford Town               MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45568‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Palmer Town City          MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45812‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Peabody City              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45860‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Pembroke Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45823‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Pittsfield City           MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45335‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Plainville Town           MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45808‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Plymouth Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45675‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Provincetown Town         MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45125‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Rehoboth Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45059‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Revere City               MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45155‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Rockland Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45824‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Salisbury Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45595‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sandwich Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45891‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Scituate Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45063‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Seekonk Town              MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45881‐DAP
                                /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sheffield Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46001‐DAP
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                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Shirley Town                 MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45880‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Somerset Town                MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45769‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
South Hadley Town            MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46000‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Southbridge Town City        MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45686‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Spencer Town                 MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45809‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Stoneham Town                MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46164‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Stoughton Town               MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45023‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sturbridge Town              MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45990‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sudbury Town                 MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45877‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sutton Town                  MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45810‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Swampscott Town              MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45911‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Templeton Town               MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45784‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Tewksbury Town               MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45077‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Truro Town                   MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45816‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Tyngsborough Town            MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45770‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Upton Town                   MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46160‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Walpole Town                 MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46093‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Ware Town                    MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45907‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Warren Town                  MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45811‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Watertown Town City          MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45674‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Wellfleet Town               MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45556‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
West Boylston Town           MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45858‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
West Bridgewater Town        MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46102‐DAP
                                   /s/ Levin, Papantonio, Rafferty, Proctor,     Levin, Papantonio, Rafferty, Proctor, Buchanan,
West Springfield Town City   MA    Buchanan, O'Brien, Barr and Mougey, P.A.      O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45813‐DAP
                                   /s/ Levin, Papantonio, Rafferty, Proctor,     Levin, Papantonio, Rafferty, Proctor, Buchanan,
West Tisbury Town            MA    Buchanan, O'Brien, Barr and Mougey, P.A.      O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45790‐DAP
                                   /s/ Levin, Papantonio, Rafferty, Proctor,     Levin, Papantonio, Rafferty, Proctor, Buchanan,
Westborough Town             MA    Buchanan, O'Brien, Barr and Mougey, P.A.      O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45859‐DAP
                                   /s/ Levin, Papantonio, Rafferty, Proctor,     Levin, Papantonio, Rafferty, Proctor, Buchanan,
Westford Town                MA    Buchanan, O'Brien, Barr and Mougey, P.A.      O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46007‐DAP
                                   /s/ Levin, Papantonio, Rafferty, Proctor,     Levin, Papantonio, Rafferty, Proctor, Buchanan,
Williamsburg Town            MA   /Buchanan,
                                     /      , O'Brien,
                                                p      Barr
                                                        , and Mougey,
                                                                 y,       P.A.
                                                                           ,     O'Brien,
                                                                                      , Barr
                                                                                          p and Mougey,
                                                                                                   ,       y,P.A.    ,         ,   NDOH   1:18‐op‐45883‐DAP
Wilmington Town              MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46158‐DAP
Winchendon Town              MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45687‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Winthrop Town City           MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45814‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Woburn City                  MA   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐45103‐DAP
Concord NH                   NH   /s/ Robbins Geller Rudman & Dowd LLP           Robbins Geller Rudman & Dowd LLP                  NDOH   1:18‐op‐45573‐DAP
Dover NH                     NH   /s/ Robbins Geller Rudman & Dowd LLP           Robbins Geller Rudman & Dowd LLP                  NDOH   1:18‐op‐45573‐DAP
                                  /s/ Levin, Papantonio, Rafferty, Proctor,      Levin, Papantonio, Rafferty, Proctor, Buchanan,
Alamogordo City
                             NM   Buchanan, O'Brien, Barr and Mougey, P.A.       O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐46067‐DAP
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                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Bernalillo County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45301‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Catron County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45320‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Cibola County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45321‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Curry County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45347‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Dona Ana County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46206‐DAP
Grant County               NM    /s/ Napoli Shkolnik PLLC                    Napoli Shkolnik PLLC                              NDOH   1:19‐op‐45108‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Hidalgo County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐46069‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lea County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45266‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lincoln County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45513‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
McKinley County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45033‐DAP
Mora County                NM    /s/ Napoli Shkolnik PLLC                    Napoli Shkolnik PLLC                              NDOH   1:17‐op‐45080‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Otero County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45216‐DAP
Rio Arriba County          NM    /s/ Napoli Shkolnik PLLC                    Napoli Shkolnik PLLC                              NDOH   1:18‐op‐45054‐DAP
Roosevelt County           NM    /s/ Napoli Shkolnik PLLC                    Napoli Shkolnik PLLC                              NDOH   1:18‐op‐46343‐DAP
Sandoval County            NM    /s/ Napoli Shkolnik PLLC                    Napoli Shkolnik PLLC                              NDOH   1:19‐op‐45421‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sierra County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45322‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Socorro County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45323‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Taos County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45051‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Valencia County
                           NM    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:19‐op‐45324‐DAP
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Nye County                 NV    Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.                    NDOH   1:18‐op‐46238‐DAP
Buchanan County            VA    /s/ Street Law Firm                         Street Law Firm                                   NDOH   1:19‐op‐45253‐DAP
